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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No. 13-cv-03363-CMA-KMT

   SECURITIES AND EXCHANGE COMMISSION,

          Plaintiff,

   v.

   JESSE W. ERWIN, JR.,
   MERLYN CURT GEISLER,
   MARSHALL D. GUNN, JR., CPA,
   SETH A. LEYTON,
   LEWIS P. MALOUF,
   STONEROCK CAPITAL GROUP LLC,

          Defendants and

   DANIEL SCOTT CODDINGTON,
   CODDINGTON FAMILY TRUST, and
   JOANNA I. COLUMBIA a/k/a Joanna I Ornowska,

          Relief Defendants.


                                       FINAL JUDGMENT


          In accordance with the orders filed during the pendency of this case, and

   pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

          Pursuant to the Order Entering Final Judgment as to Defendant Marshall D.

   Gunn, Jr. (Doc. # 227) entered by United States District Judge Christine M. Arguello, on

   June 29, 2020, it is

          ORDERED that Defendant is permanently restrained and enjoined from violating,

   directly or indirectly, Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange

   Act”), 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5,
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   by using any means or instrumentality of interstate commerce, or of the mails, or of any

   facility of any national securities exchange, in connection with the purchase or sale of any

   security:

                  (a) to employ any device, scheme, or artifice to defraud;

                  (b) to make any untrue statement of a material fact or to omit to state a

           material fact necessary in order to make the statements made, in the light of the

           circumstances under which they were made, not misleading; or

                  (c) to engage in any act, practice, or course of business which operates or

           would operate as a fraud or deceit upon any person. It is

           FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure 65(d)(2),

   the foregoing paragraph also binds the following who receive actual notice of the Final

   Judgment by personal service or otherwise: (a) Defendant’s officers, agents, servants,

   employees, and attorneys; and (b) other persons in active concert or participation with

   Defendant or with anyone described in (a). It is

           FURTHER ORDERED that Defendant is permanently restrained and enjoined from

   violating Section 17(a) of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. §

   77q(a)] in the offer or sale of any security by the use of any means or instruments of

   transportation or communication in interstate commerce or by use of the mails, directly or

   indirectly:

                  (a) to employ any device, scheme, or artifice to defraud;

                  (b) to obtain money or property by means of any untrue statement of a

           material fact or any omission of a material fact necessary in order to make the

           statements made, in light of the circumstances under which they were made, not

           misleading; or



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                  (c) to engage in any transaction, practice, or course of business which

          operates or would operate as a fraud or deceit upon the purchaser. It is

          FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure 65(d)(2),

   the foregoing paragraph also binds the following who receive actual notice of the Final

   Judgment by personal service or otherwise: (a) Defendant’s officers, agents, servants,

   employees, and attorneys; and (b) other persons in active concert or participation with

   Defendant or with anyone described in (a). It is

          FURTHER ORDERED that Defendant is permanently restrained and enjoined from

   violating, directly or indirectly, Section 15(a) of the Exchange Act, 15 U.S.C. § 78o(a), by

   making use of the mails or any means or instrumentality of interstate commerce to effect

   any transactions in, or to induce or attempt to induce the purchase or sale of, any security,

   without being registered as a broker and/or dealer pursuant to Section 15(b) of the

   Exchange Act, 15 U.S.C. § 78o(b), or while Defendant is not associated with an entity

   registered with the Commission as a broker or dealer. It is

          FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in Federal

   Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

   receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s

   officers, agents, servants, employees, and attorneys; and (b) other persons in active

   concert or participation with any Defendant or with anyone described in (a). It is

          FURTHER ORDERED that Defendant is permanently restrained and enjoined from

   violating Section 5 of the Securities Act, 15 U.S.C. § 77e, by, directly or indirectly, in the

   absence of any applicable exemption:

                  (a) Unless a registration statement is in effect as to a security, making use of

          any means or instruments of transportation or communication in interstate



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          commerce or of the mails to sell such security through the use or medium of any

          prospectus or otherwise;


                 (b) Unless a registration statement is in effect as to a security, carrying or

          causing to be carried through the mails or in interstate commerce, by any means or

          instruments of transportation, any such security for the purpose of sale or for delivery

          after sale; or

                 (c) Making use of any means or instruments of transportation or

          communication in interstate commerce or of the mails to offer to sell or offer to buy

          through the use or medium of any prospectus or otherwise any security, unless a

          registration statement has been filed with the Commission as to such security, or

          while the registration statement is the subject of a refusal order or stop order or (prior

          to the effective date of the registration statement) any public proceeding or

          examination under Section 8 of the Securities Act, 15 U.S.C. § 77h. It is

          FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure 65(d)(2),

   the foregoing paragraph also binds the following who receive actual notice of the Final

   Judgment by personal service or otherwise: (a) Defendant’s officers, agents, servants,

   employees, and attorneys; and (b) other persons in active concert or participation with

   Defendant or with anyone described in (a). It is

          FURTHER ORDERED that Defendant is liable for disgorgement of $197,500.00,

   representing profits gained as a result of the conduct alleged in the Complaint, together with

   prejudgment interest thereon in the amount of $33,754.74, and a civil penalty in the amount

   of $50,000.00 pursuant to Section 20(d)(2)(B) of the Securities Act and Section

   21(d)(3)(B)(ii) of the Exchange Act, 15 U.S.C. §§ 77t(d)(2)(B), 78u(d)(3)(B)(ii). Defendant




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   shall satisfy this obligation by paying $281,254.74 to the Securities and Exchange

   Commission within 30 days after entry of Final Judgment.

          Defendant may transmit payment electronically to the Commission, which will

   provide detailed ACH transfer/Fedwire instructions upon request. Payment may also be

   made directly from a bank account via Pay.gov through the SEC website at

   http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by certified check, bank

   cashier’s check, or United States postal money order payable to the Securities and

   Exchange Commission, which shall be delivered or mailed to

          Enterprise Services Center
          Accounts Receivable Branch
          6500 South MacArthur Boulevard
          Oklahoma City, OK 73169

   and shall be accompanied by a letter identifying the case title, civil action number, and

   name of this Court; Marshall D. Gunn, Jr. as a defendant in this action; and specifying that

   payment is made pursuant to the Final Judgment.

          Defendant shall simultaneously transmit photocopies of evidence of payment and

   case identifying information to the Commission’s counsel in this action. By making this

   payment, Defendant relinquishes all legal and equitable right, title, and interest in such

   funds and no part of the funds shall be returned to Defendant. The Commission shall send

   the funds paid pursuant to the Final Judgment to the United States Treasury. The

   Commission may enforce the Court’s judgment for disgorgement and prejudgment interest

   by moving for civil contempt (and/or through other collection procedures authorized by law)

   at any time after 30 days following entry of Final Judgment. Defendant shall pay post

   judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961. It is

          FURTHER ORDERED that, solely for purposes of exceptions to discharge set forth

   in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the allegations in the complaint


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   are true and admitted by Defendant, and further, any debt for disgorgement, prejudgment

   interest, civil penalty or other amounts due by Defendant under the Final Judgment or any

   other judgment, order, consent order, decree or settlement agreement entered in

   connection with this proceeding, is a debt for the violation by Defendant of the federal

   securities laws or any regulation or order issued under such laws, as set forth in Section

   523(a)(19) of the Bankruptcy Code, 11 U.S.C. § 523(a)(19). It is

          FURTHER ORDERED that this Court shall retain jurisdiction of this matter for the

   purposes of enforcing the terms of the Final Judgment. It is

          FURTHER ORDERED that, pursuant to Rule 54(b) of the Federal Rules of Civil

   Procedure, Final Judgment is entered against Defendant Marshall D. Gunn, Jr. in the

   amount of $281,254.74 forthwith and without further notice.

          DATED: June 29, 2020.

                                              FOR THE COURT:
                                              Jeffrey P. Colwell, Clerk


                                              By:     s/S. West
                                                        S. West, Deputy Clerk




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